    Case 19-50012      Doc 231     Filed 09/12/19     EOD 09/12/19 15:44:45        Pg 1 of 21



                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

In re:                                                  Chapter 11

USA GYMNASTICS, INC.,                                   Case No. 18-09108-RLM-11

Debtor.                                                 Adv. Proc. No. 1:19-ap-50012


USA GYMNASTICS, INC.,                                   )
                                                        )
Plaintiff,                                              )
                                                        )
               vs.                                      )
                                                        )
ACE AMERICAN INSURANCE COMPANY f/k/a                    )
CIGNA INSURANCE COMPANY, GREAT                          )
AMERICAN ASSURANCE COMPANY, LIBERTY                     )
INSURANCE UNDERWRITERS INC., NATIONAL                   )
CASUALTY COMPANY, RSUI INDEMNITY                        )
COMPANY, TIG INSURANCE COMPANY,                         )
VIRGINIA SURETY COMPANY, INC. f/k/a                     )
COMBINED SPECIALTY INSURANCE                            )
COMPANY, WESTERN WORLD INSURANCE                        )
COMPANY, ENDURANCE AMERICAN                             )
INSURANCE COMPANY, AMERICAN                             )
INTERNATIONAL GROUP, INC., AMERICAN                     )
HOME ASSURANCE COMPANY, and DOE                         )
INSURERS,                                               )
                                                        )
Defendants.                                             )

   PLAINTIFF USA GYMNASTICS’ COMBINED RESPONSE AND REPLY BRIEF IN
    SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT AGAINST
          CHUBB AND IN OPPOSITION TO CHUBB’S CROSS-MOTION

                                   I.     INTRODUCTION

          Chubb’s response arguments are weak. As to the excess policies, they are nearly

sanctionable. Chubb cannot escape the dispositive fact that its excess policies expressly prohibit

the inclusion of any terms that “relate to” the “limits of insurance” in the underlying policy.

Despite this, Chubb attempts to incorporate a primary-policy term that Chubb itself chose to
                                              -1-
   Case 19-50012        Doc 231      Filed 09/12/19      EOD 09/12/19 15:44:45          Pg 2 of 21



label as a “Limit of Insurance.” And, after arguing that its payment obligations under all three

primary policies are limited to a single “Each Act” limit by the “Limit of Insurance” language in

its first primary policy, Chubb turns around and asserts that only one of those three policies

actually “pays” for purposes of excess coverage. The Court should reject Chubb’s attempt to

have its cake and eat it too.

        In its opening brief, USAG showed how there are at least $33 million in collective limits

available to resolve the Nassar claims under the three primary and three excess policies that

Chubb sold to USAG. [Dkt. 175, at 9–15.] In its opposition brief, Chubb argues that those three

years of policies collectively provide only a single year’s worth of limits ($11 million) for the

Nassar claims.

        Chubb ignores that each policy represents a separate and independent contract that was

issued for a one-year increment, after a separate underwriting process, for additional premium.

Chubb also ignores that in exchange for receiving additional premium each year, it promised a

separate set of “fresh” limits under each successive policy for losses that come within the scope

of each policy’s insuring language. USAG is entitled to full coverage under each of these six

policies unless there is language in each one that clearly and unmistakably warns the limits

would vanish under circumstances such as these. No such language exists.

        Turn first to the excess policies. The deemer clause at issue here is only found in a

section of the primary policies that Chubb chose to label as “Limits of Insurance.” The Chubb

excess policies, however, expressly prohibit the incorporation of primary-policy terms if they

“relate to . . . limits of insurance” or are “inconsistent with the terms of this policy.” [Id. at 9–13;

Dkt. 175-2, §I.A, at 1.] The deemer clauses, at a minimum, “relate to” the primary policies’

limits of insurance both in form and substance. It also contradicts other terms of the excess



                                                 -2-
   Case 19-50012        Doc 231     Filed 09/12/19     EOD 09/12/19 15:44:45         Pg 3 of 21



policies. [Dkt. 175, at 13–15.] Chubb has no sound answer to these points, and most of its brief is

dedicated to avoiding the issue entirely. Its efforts are futile. They actually further reinforce the

fact that USAG is correct.

       Chubb is also wrong about the deemer clause in the three primary policies. That clause

does not clearly and unmistakably provide that, under these circumstances, only a single year’s

worth of limits is available. Chubb leans heavily on the word “all” in the deemer clauses,

construing it in isolation and claiming that it must encompass all abuse by Nassar, irrespective of

whether that abuse took place before, during, or after that particular policy period. But unlike the

cases upon which Chubb relies, Chubb’s deemer clause does not say that. The deemer clauses

here are silent about whether they apply beyond the temporal limits of their individual policy

period. That silence alone is fatal to Chubb’s position, as it chose not to include this language.

State Auto. Mut. Ins. Co. v. Flexdar, 964 N.E.2d 845, 852 (Ind. 2012). What’s more, when read

in context with the other provisions in in that endorsement, it is clear that “all” refers to abuse

covered under a single policy. It does not function as a stealth exclusion that makes the limits of

two separate and additional policies vanish into thin air.

                                  II.     LEGAL STANDARD

        A few points on how Indiana courts interpret insurance policies are worth repeating, as

Chubb ignores them. The most essential principle of Indiana insurance law is that “[a]n

insurance policy should be so construed as to effectuate indemnification . . . rather than to defeat

it.” Masonic Acc. Ins. Co. v. Jackson, 164 N.E. 628, 631 (Ind. 1929). All other canons of

construction, to the extent they apply, are filtered through that lens—a recognition of the purpose

of insurance, which is to protect the policyholder from unexpected loss. See id.; Eli Lilly & Co. v.

Home Ins. Co., 482 N.E.2d 467, 470 (Ind. 1985).



                                                -3-
   Case 19-50012        Doc 231     Filed 09/12/19      EOD 09/12/19 15:44:45         Pg 4 of 21



       Chubb also tries to frame this case in terms of “mutual intent,” when the Indiana Supreme

Court has repeatedly acknowledged that this is a fiction. See Am. States Ins. Co. v. Kiger, 662

N.E.2d 945, 947 (Ind. 1996) (holding that insurance-policy construction is “driven by the fact

that the insurer drafts the policy and foists its terms upon the customer. . . . [W]e buy their forms

or we do not buy insurance.”). The insurer’s intent in writing the policy is what matters, not the

policyholder’s intent, since the policyholder has no say in the language used. Thus, if the

insurer’s intent to limit its liability is not stated clearly and unmistakably in the text of the four

corners of the policy, then it loses the case. Flexdar, 964 N.E.2d at 852 (holding that an pollution

exclusion that did not list TCE as a “pollutant” was ambiguous as applied to coverage for TCE

contamination, even in the face of the insurer’s argument that “any reasonable person would

expect the release of chemical solvents into the soil [to constitute] pollution.”). Indiana follows a

strict clear-statement rule, and that rule has real teeth. Id. (Although “[i]nsurers are free to limit

the coverage of their policies . . . such limitations must be clearly expressed to be enforceable.”)

(emphasis added). Id. Chubb ignores these basic cannons of interpretation. As discussed below,

Chubb’s purported “limitations” are not clearly expressed, and therefore are not enforceable. Id.

       Chubb acknowledges—but then ignores—the long held rule that a policyholder only

needs to presents a reasonable construction of the policy to win. Eli Lilly & Co., 482 N.E.2d at

471. It does not have to the “best” construction—only a reasonable one. Am. Econ. Ins. Co. v.

Liggett, 426 N.E.2d 136, 144 (Ind. Ct. App. 1981) (“Where any reasonable construction can be

placed on a policy that will prevent the defeat of the insured’s indemnification for a loss covered

by general language, that construction will be given.” (emphasis supplied).) While USAG’s

construction of the primary policies is the most reasonable—separate limits for each separate

policy—Chubb fails to even argue, much less show, that USAG’s position is unreasonable.



                                                -4-
     Case 19-50012     Doc 231      Filed 09/12/19     EOD 09/12/19 15:44:45        Pg 5 of 21



        Finally, Chubb improperly suggests that the Court should look at all the policies

collectively when analyzing these issues. [Dkt. 217 at 13.] Indiana has long held that an insurer

cannot introduce extrinsic evidence of what an ambiguous policy means. Eli Lilly & Co., 482

N.E.2d at 471. Such evidence would be admissible only if the text of the policy was ambiguous;

and if the text of the policy is ambiguous, then it must be construed against the insurer. Id. Thus,

although courts may construe policy terms in light of other clauses within the same policy, the

insurer may not interpret one policy by reference to what another policy says. Id. The extrinsic-

evidence rule requires that each policy stands on its own. Id. Chubb’s response violates all of

these guiding principles.

                                      III.    ARGUMENT

        In its opening brief, USAG showed how there are at least $33 million in collective limits

available to resolve the Nassar claims under the three primary and three excess policies that

Chubb sold to USAG. [Dkt. 175, at 9–15.] This conclusion is mandated by the fact that the

deemer clause at issue here is only found in a section of the primary policies that Chubb chose to

label as “Limits of Insurance,” and the Chubb excess policies expressly prohibit the

incorporation of primary policy terms if they “relate to . . . limits of insurance” or “are

inconsistent with the terms of the policy.” [Id. at 9–13; Dkt. 175-2, §I.A, at 1.] The deemer

clauses, at a minimum, “relate to” the primary policies’ limits of insurance.

A.      Chubb cannot avoid the fact that its excess policy ignores things that “relate to” the
        primary policies’ limits of insurance.

        Chubb chose to label the deemer clauses here as “Limits of Insurance.” [Dkt. 175-1, §3,

at 1.] This is not a standard ISO form—Chubb admits that the form was a “manuscript” drafted

by the company. [See Dkt. 217, at 10.] But the excess policies require the policyholder to

disregard anything in the primary policies that “relate to” that policy’s Limit of Insurance. [Dkt.


                                               -5-
   Case 19-50012        Doc 231      Filed 09/12/19      EOD 09/12/19 15:44:45          Pg 6 of 21



175-2, §I.A, at 1.] This necessarily includes the deemer clause. That Chubb may now regret this

drafting choice is no basis to deny coverage. As the Seventh Circuit reminded Chubb five years

ago: “Although the Chubb defendants undoubtedly would prefer [coverage-limiting terms] under

the Policy, when they have failed to do so in the insurance contract itself, this court will not

rewrite the contract . . . to release the insurer from a risk it could have avoided through a more

foresighted drafting of the policy.” Strauss v. Chubb. Indem. Co., 771 F.3d 1026, 1033 (7th Cir.

2014).

         1.     Chubb decided to label the deemer clauses here as “Limits of Insurance,”
                and the excess policies explicitly ignore things that “relate to” the primary
                policy’s Limits of Insurance.

         The primary policies’ deemer clause is found in a three-paragraph section that Chubb

chose to label as “Limits of Insurance.” [Dkt. 175-1, §3, at 1.] Chubb’s excess policies disregard

terms in the primary policy if they are “inconsistent with provisions of this policy, or relate to . . .

limits of insurance.” [Dkt. 175-2, §I.A, at 1 (emphasis added).] Chubb never analyzes the crucial

phrase “relate to”—and never quotes the full passage—in response to USAG argument, even

though that phrase is at the core of USAG’s position. [Dkt. 217, at 16–17; Dkt. 175, at 3, 12.]

Neither does Chubb cite any cases to support its claim that “relate to” somehow unambiguously

refers only to the numerical dollar limit ($10 million instead of $1 million). If it wanted to

accomplish this narrow result, then it could have, and should have, said so in the excess policies.

         The cases it does cite are distinguishable. Critically, none of them addressed the term

“relate to” present in Chubb’s policy. Metro. Life Ins. Co. v. Aetna Cas. & Sur. Co., 1999 WL

244642, at *3 (Conn. Super. Ct. Apr. 16, 1999) (stating that the follow-form clause applied

“except with respect to limits of liability”); Union Carbide Corp. v. Affiliated FM Ins. Co., 891

N.Y.S.2d 347, 349–50 (N.Y. App. Div. 2009) (observing that the terms of the instant excess



                                                 -6-
    Case 19-50012       Doc 231      Filed 09/12/19     EOD 09/12/19 15:44:45          Pg 7 of 21



insurance followed form “except for limits of insurance”) (citing Md. Cas. Co. v. W.R. Grace &

Co., 1996 U.S. Dist. LEXIS 4500, *9–10); 1 Air & Liquid Sys. Corp. v. Allianz Underwriters Ins.

Co., 2013 U.S. Dist. LEXIS 142359, *159, 163 (W.D. Pa. 2013) (observing that the underlying

terms applied “except as regards the . . . the amount and limits of liability”).

       The term “relate to” is indisputably much broader than the terms “with respect to” or “as

regards.” It encompasses not only the limits, but all terms that are “specifically described . . . as a

functional piece of the ‘Limits of Insurance’” and that “as a matter of logic, operate[] that way in

all cases.” Benjamin Moore & Co. v. Aetna Cas. & Sur. Co., 843 A.2d 1094, 1104 (N.J. 2004).

Though Benjamin Moore did not involve an excess policy, its description of the nature of

“limits” in an insurance policy is a reasonable and persuasive way to interpret the term “relate

to” in Chubb’s excess policies.

       Chubb decided to label its deemer clause as “Limits of Insurance.” It does not and cannot

dispute that in its brief. “Courts must interpret an insurance policy as written, not as the

insurance company wishes it were written.” Schmitz v. Great Am. Assur. Co., 337 S.W.3d 700,

707 (Mo. 2011). Chubb cannot rewrite the policy now just because it dislikes the outcome. Id.;

Strauss, 711 F.3d at 1033. Its efforts to avoid this result are meritless, and the Court should reject

them. This is not a close case. 2 All $30 million in excess limits are available for the Nassar



1
  Union Carbide is further distinguishable because it involved one three-year primary policy and
a dispute over how the limits from that policy were incorporated into two co-excess policies at
the fifth layer of insurance. Union Carbide Corp. v. Affiliated FM Ins. Co., 947 N.E.2d 111,
112–13 (N.Y. 2011). In contrast, this case involves three individual one-year primary policies
and three individual one-year excess policies.
2
  USAG’s reference to Hickman was not a “personal attack” against Chubb—it was, and is, a
statement of black-letter Indiana law on bad faith. Chubb’s position on the excess policies has no
“rational, principled basis” because it contravenes the plain text of those excess policies. Mere
disagreement does not result in bad faith, but neither can Chubb avoid such penalties simply by


                                                 -7-
    Case 19-50012        Doc 231    Filed 09/12/19     EOD 09/12/19 15:44:45        Pg 8 of 21



claims.

          B.     All three of Chubb’s primary policies “pay,” even under Chubb’s
                 unpersuasive attempt to get around the “relate to” argument.

          Chubb’s only defense to USAG’s “relate to” argument is to claim that “each excess

policy only pays if the underlying primary policy pays.” [Dkt. 217, at 15.] That is true, so far as

it goes. But it does not go very far in this case. Chubb cannot avoid the fact that, under its own

primary-policy argument, all three policies do pay—the payments are simply limited to one

cross-policy “Each Act” limit. That limit gets exhausted, even under Chubb’s view of its own

primary policy. Thus, all three excess policy limits are available.

          Chubb’s “all-means-all” argument runs like this: Each of the three primary policies are

triggered, 3 but the deemer clause takes Nassar-related claims from all three policies and lumps

them all under one cross-policy “Each Act” limit of insurance. [Dkt. 217, at 11–14.] Stated

differently, Chubb argues that the survivors first abused by Nassar in 1998, 1999, and 2000,


claiming that its position is reasonable without any policy language or case law to support it.
[Dkt. 217, at 21.]
Indiana courts have imposed frivolous-litigation penalties on insurers for taking similarly
unreasonable positions about coverage-limiting terms. See [Dkt. 175-4.] Though the standard is
not identical to Indiana bad-faith law or to federal Rule 11 law, they are similar enough to inform
each other. A different point in Cefali was disapproved in Thomson v. Ins. Co. of N. Am., 11
N.E.3d 982, 1019–20 (Ind. Ct. App. 2014)—namely, pro-rata versus joint-and-several indemnity
allocation. Cefali and the other cases USAG cited all imposed penalties on insurers for persisting
in claims that had no legal foundation. That accurately describes Chubb’s position here. Chubb’s
unreasonableness is even more damaging for USAG, a non-profit organization in bankruptcy,
because USAG lacks the resources to fend off a “war of attrition” waged by well-heeled insurers.
Contrary to Chubb’s claim, Indiana permits trial court opinions to be cited “for their persuasive
value.” Ind. High Sch. Athletic Ass’n v. Durham, 748 N.E.2d 404, 413 n.5 (Ind. Ct. App. 2001).
The United Minerals case Chubb relies on for the contrary position simply reiterated the truism
that trial court opinions are not binding precedent. Ind. Dep’t of Nat. Res. v. United Minerals,
Inc., 686 N.E.2d 851, 857 & n.1 (Ind. Ct. App. 1997).
3
 Chubb does not dispute USAG’s contention that all three primary policies are triggered. [Dkt.
217, at 12.]


                                                -8-
   Case 19-50012        Doc 231      Filed 09/12/19   EOD 09/12/19 15:44:45         Pg 9 of 21



respectively, were abused by a “single act,” and that act is “subject to the Each Act limit of

insurance.” [Id.; Dkt. 175-1, §3.a, at 2.]

       Even if this reading were correct, (and it is not) this argument fails to produce the result

Chubb desires as to the excess policies. Chubb relies on language in the excess policies stating

that they do not pay if the underlying insurance “does not pay” a loss. [Dkt. 217, at 15.] But even

under Chubb’s theory the underlying policies do cover and will pay the losses here. They only

stop paying, under Chubb’s theory, because the three primary policies’ ostensible cross-policy

“Each Act” limit of $1 million has been paid and reduced to zero. That is entirely distinct from a

situation in which two of the three primary policies are not even triggered. And, of course,

Chubb does not contend, nor can it contend, that all three primary policies’ insuring agreements

are not triggered by the facts of this case. [Dkt. 175-1, §1.b, at 1]; see Eli Lilly & Co., 482

N.E.2d at 471 (Indiana follows the triple-trigger theory under CGL policies). Chubb’s argument

is, instead, that a cross-policy “Each Act” limit of insurance “cap[s] the risk underwritten with

respect to a catastrophic series of related incidents.” [Dkt. 217, at 10.] But even under Chubb’s

argument the primary policies still “cover” all the claims—they just pay until the claims exceed a

single $1 million limit, rather than the three $1 million primary limits that USAG argues are

available.

       Contrast this with claims that the primary policies actually do not cover or “pay.” Nassar

abused other claimants after Chubb’s policies expired. Those claims do not trigger Chubb’s

insuring agreements because “the ‘bodily injury’ or ‘personal injury’” is not “caused by an act of

‘physical abuse’ or ‘sexual misconduct’ first committed during the policy period.” [Dkt. 175-1

§1.b(2), at 1 (emphasis added).] The primary policy does not cover, nor will it pay, such claims.

But the claims allegedly grouped by the deemer clause are covered claims. They simply hit



                                               -9-
  Case 19-50012        Doc 231      Filed 09/12/19       EOD 09/12/19 15:44:45       Pg 10 of 21



Chubb’s ostensible cross-policy “Each Act” limits under the primary policies’ lower total

amount. Claims above the primary policies’ limits are what the excess policies pay.

         This is exactly how excess policies work. As the Indiana Supreme Court explained in

Allstate Ins. Co. v. Dana Corp., 759 N.E.2d 1049, 1063 n.10 (Ind. 2001), excess insurance

covers liability above the limits of the primary policy, without regard to whether the primary

insurer actually paid that sum. This is what Chubb’s excess policies actually say. [Dkt. 217-5

§I(B) at 8. The excess policies state that if the underlying “limit has been reduced or exhausted

solely by reason of losses paid thereunder,” then the excess policy pays. [Id.] There can be no

doubt that the underlying limit has been “exhausted” by reason of losses paid, even on Chubb’s

view of the three primary policies. Therefore, the excess policies kick in. At the very least, this is

a plausible, reasonable way to construe how the deemer clauses interact with the excess policies.

Since USAG’s argument only needs to be reasonable, it controls as a matter of law. Eli Lilly &

Co., 482 N.E.2d at 471; Asbury v. Ind. Union Mut. Ins. Co., 441 N.E.2d 232, 242 (Ind. Ct. App.

1982).

         Chubb’s distorted conception of limits and excess insurance is not a reasonable

interpretation of the policies, and it would destroy virtually all coverage under every excess

policy. Excess policies are triggered when underlying limits are exhausted. If the “does not pay”

language means what Chubb contends—that the application of a single cross-policy “Each Act”

“limit of insurance” to all three underlying policies means that the other two policies are not

exhausted—then no excess policy would ever provide coverage for amounts in excess of the

primary policy’s limit, because the primary policy would not technically be “paying” those

claims. That cannot be, and is not, the law.




                                                - 10 -
      Case 19-50012    Doc 231      Filed 09/12/19        EOD 09/12/19 15:44:45      Pg 11 of 21



II.      Chubb cannot point to any clear text in its endorsement that applies the “deemer”
         language across multiple primary policy periods.

         Chubb goes to great lengths to diminish the fact that it sold three separate primary

policies to USAG. 4 Its argument that only one “Each Act” limit applies across all three policies

rests on the mistaken assumption that a policy’s terms must be interpreted by reference to

another policy’s terms. That is incorrect.

         1.     Chubb sold three separate primary policies to USAG, and it cannot restrict
                coverage under any of those three policies by looking to facts outside each
                individual contract.

         The Indiana Supreme Court has imposed a categorical prohibition on insurers offering

extrinsic evidence to interpret the terms of an insurance policy. Eli Lilly & Co., 482 N.E.2d at

471. An insurer must satisfy Indiana’s clear-statement rule from the text written within the four

corners of the policy before it can bar coverage. Id.; Flexdar, 964 N.E.2d at 848, 852. Chubb

concedes that this is the law, stating in its brief that courts examine “the language used to express

[the parties’] rights and duties”. [Dkt. 217, at 7.] The meaning of policy terms can be informed

only by the other terms in that policy, as it was in the case Chubb cites. E.g., Allstate Ins. Co. v.

United Farm Bureau Mut. Ins. Co., 618 N.E.2d 31, 33 (Ind. Ct. App. 1993) (disagreeing with

appellant insurer based in part on this rule).

         But it does not follow that the terms in one policy can govern the meaning of those in

4
  While the primary policies had a consistent policy number, they are each separate and distinct
policies. USAG paid separate premiums for each. [Dkt. 217-2 at 2; Dkt 217-3 at 3; Dkt. 217-4 at
2.] Each policy had separate policy periods. [Dkt. 217-2 at 2; Dkt 217-3 at 3; Dkt. 217-4 at 2.]
The policies used different forms. [Compare Dkt. No. 217-2 at 7–9, with Dkt. No. 217-3 at 7–9
(deleting fifty-six forms/endorsements and adding sixty-eight forms/endorsements from the prior
year), and with Dkt. No. 217-4 at 7–9 (deleting six forms/endorsements and adding twenty-five
new forms/endorsements from the prior your). They were even issued by different companies.
[Compare Dkt. 217-2 at 2; Dkt 217-3 at 3 (both issued by CIGNA Insurance Company), with
Dkt. 217-4 at 2 (issued by ACE American Insurance Company).] This is not a single policy as
Chubb implies.


                                                 - 11 -
    Case 19-50012      Doc 231     Filed 09/12/19       EOD 09/12/19 15:44:45        Pg 12 of 21



another. If the insurer wants to incorporate limitations on coverage from a separate policy, it

can—but it must say so in express terms. Flexdar, 964 N.E.2d at 848, 852 (limitations must be

“clearly expressed to be enforceable”). As the Indiana Supreme Court has held, “[f]or

incorporation to occur, the incorporating contract must include a clear and explicit expression of

intent to be bound by the auxiliary contract.” Care Grp. Heart Hosp. v. Sawyer, 93 N.E.3d 745,

754–55 (Ind. 2018)) (emphasis added). 5 None of the Chubb policies incorporate, consolidate, or

even refer to the separate “Each Act” limit present in the other policies. [Dkt. 175-1, §3.a, at 2.]

Such silence does not satisfy the clear-statement rule required to create a limitation on coverage,

Flexdar, 964 N.E.2d at 848, and it does not count as a “clear and explicit” incorporation or

consolidation of the other policies’ separate “Each Act” limit, Sawyer, 93 N.E.3d at 754–55.

       This is the answer to Chubb’s argument that the use of “the same policy period” in §3.c

of the endorsement implies that §3.a must restrict coverage under all policy periods. [Dkt. 217, at

13–14.] Even if this were a permissible inference 6 from the text—which it is not—given the

explicit time-specific phrases used in §1.b(3)(b) and in §3.c, it is not the only reasonable

interpretation. [See Dkt. 175-1, §§1.b(3)(b), 3.c, at 1–2.] By choosing not to include any time-

specific phrases (expansive or restrictive) in § 3.a, while at the same time doing that very thing in

other parts of the policy, Chubb chose to leave the deemer ambiguous. This is especially

problematic considering that Chubb is trying to restrict coverage by implying language that it
5
  The same is true even if an insurer cites to coverage limitations from another coverage in the
same policy. Travelers Indem. Co. v. Summit Corp. of Am., 715 N.E.2d 926, 938–40 (Ind. Ct.
App. 1999). In Summit, the Court of Appeals prohibited the insurer from inferring a pollution
exclusion (located in Coverage A) into Coverage B, which did not contain the exclusion. Id.;
Pipefitters Welfare Educ. Fund v. Westchester Fire Ins. Co., 976 F.2d 1037, 1042 (7th Cir. 1992)
(holding that such an attempt by an insurer is “nearly sanctionable”).
6
  This is not actually a permissible reading of the insuring agreement, which provides an
expansion of coverage for abuse that takes place after the policy period expires. [See id., at
§1.b(3)(b).] An insurer cannot read a coverage expansion to imply a hidden exclusion.


                                               - 12 -
  Case 19-50012        Doc 231     Filed 09/12/19       EOD 09/12/19 15:44:45       Pg 13 of 21



chose not to use when writing the endorsement. Flexdar, 964 N.E.2d at 848; Kiger, 662 N.E.2d

at 947; Summit, 715 N.E.2d at 938–40. That is impermissible under Indiana law. Id.; Indiana Ins.

Companies v. Granite State Ins. Co., 649 F. Supp. 1549, 1557 (S.D. Ind. 1988) (Indiana law)

(holding that unless allegedly restrictive language “clearly and unmistakably brings within its

scope the particular [issue] that will bring it into play, the [language] will be ineffective to

exclude or destroy coverage.”).

        In short, nothing in any given primary policy states that amounts paid under a different

policy will reduce the limits available under that policy. Chubb cannot imply this result by

lumping three different policies into one bucket and treating them as one policy.

        2.      Nothing in the three individual policies expands the deemer clause beyond the
                inception and termination date of that particular policy

        With no Indiana law and no policy terms to support its argument, Chubb resorts to

pummeling a straw man. [Dkt. 217, at 12 (“USAG argues that ‘all’ does not really mean ‘all.’”).]

Search as Chubb may, that argument does not appear in USAG’s brief. USAG agrees that “all

means all” under the terms of each policy. If Nassar first abused ten survivors during a single

Chubb policy year, “all” of that abuse is considered a “single act, subject to the Each Act limit of

insurance.” [Dkt. 175-1, §3.a, at 2 (emphasis added).] Without further explanation, however, this

language is reasonably interpreted as applying only to the individual policy—especially since it

appears, separately, in each successive policy. If all claims were “channeled” under a single

policy’s limits, there would be no need to describe a new “Each Act” limit in both successive

endorsements. The later endorsements would have just referred back to the first policy.

        Chubb’s reliance on other cases to construe its deemer clause is unpersuasive. Chubb’s

deemer clause—again, located in the “Limits of Insurance” section of each of the three primary

policies, states:

                                               - 13 -
    Case 19-50012      Doc 231     Filed 09/12/19       EOD 09/12/19 15:44:45        Pg 14 of 21



       All acts or omissions which cause or contribute to ‘physical abuse’ or ‘sexual
       misconduct’ by a single individual . . . shall be considered a single act, subject to
       the Each Act limit of insurance, regardless of the number of acts or omissions,
       number of persons injured, number of insureds responsible or number of locations
       involved.

[Dkt. 175-1, § 3.a, at 2 (emphasis added).] This clause is critically different from the facts in the

cases Chubb cites.

       Several of these cases explicitly slotted abuse occurring under any policy under the first

policy sold by that insurer. For example, in Church Mut. Ins. Co. v. First United Pentecostal

Church of Parma, No. 1:11CV2201, 2012 U.S. Dist. LEXIS 117607 (N.D. Ohio Aug. 21, 2012),

the deemer clause specified that “all injury arising out of all acts of ‘sexual misconduct or sexual

molestation’ by the same person . . . will be considered one claim, subject to the ‘each claim’

Limit of Insurance in force at the time the first act covered by this or any other policy issued by

us occurred.” Id. at *3 (emphasis added); see also TIG Ins. Co. v. Smart Sch., 401 F. Supp. 2d

1334, 1339 (S.D. Fla. 2005) (construing a policy that provided that “[n]o coverage is afforded

under this policy if the first act of ‘sexual abuse occurrence’ took place outside the policy

period.”) (emphasis added); TIG Ins. Co. v. Merryland Childcare and Development Ctr., Inc.,

2007 U.S. Dist. LEXIS 8190, *7–9 (W.D. Tenn. 2007) (same); TIG Insurance Co. v. San

Antonio YMCA, 172 S.W.3d 652 (Tex. App. 2005) (same). 7

       These cases also contain deemer clauses that explicitly extend the deemer beyond the

policy period. San Antonio YMCA, 172 S.W.3d at 657 (“All acts of ‘Sexual Abuse Occurrence’

7
  Moreover, the deemer clause in these policies was in the coverage grant, not in a “Limits of
Insurance” section—a structural fact that Indiana courts consider when analyzing insurance
policies. Masten v. AMCO Ins. Co., 953 N.E.2d 556, 572 (Ind. Ct. App. 2011) (“[B]ecause we
construe insurance policies as a whole in each case, prior cases that focus upon similar or
identical language in a policy are not necessarily determinative of later cases because the
insurance policies as a whole are likely to differ.”) (reversing judgment for insurer because the
language structure was different than in a previous case).


                                               - 14 -
    Case 19-50012     Doc 231      Filed 09/12/19      EOD 09/12/19 15:44:45       Pg 15 of 21



by an actual or alleged perpetrator . . . shall be deemed and construed as one occurrence . . .

regardless of . . . the period of time during which the acts of sexual abuse took place.”);

Merryland Childcare, 2007 U.S. Dist. LEXIS 8190, at *7–9 (same); Smart Sch., 401 F. Supp. 2d

at 1340 (same); First United Pentecostal Church of Parma, 2012 U.S. Dist. LEXIS 117607, at

*10 (“Regardless of the number of acts of ‘sexual misconduct or sexual molestation,’ period of

time over which such acts occur . . . all injury arising out of all acts of ‘sexual misconduct or

sexual molestation . . . will be considered one claim, subject to the ‘each claim’ Limit of

insurance.”). Chubb’s policies lack the very “period of time” phrase upon which these decisions

turn.

        Chubb’s further reliance on Guide One and the remainder of these cases is misplaced. In

GuideOne, the parties actually agreed that the policyholder was entitled to one limit per policy

period. GuideOne Spec. Mut. Ins. Co. v. Doe, 2008 U.S. Dist. LEXIS 119141, *2–3 (W.D. Mo.

2008). Other cases only involved one policy to begin with and are unhelpful where, as here, the

Court is presented with three separate policies. Preferred Risk Mut. Ins. Co. v. Watson, 937

S.W.2d 148, 148–49 (Tex. Ct. App. 1997); U.S. Underwriters Ins. Co. v. Hands of Our Future,

LLC, 2016 Del. Super. LEXIS 439, *2–3 (Del. Super. Ct. Aug. 19, 2016) (single non-sexual-

abuse incident under a single policy); Knowledge Learning Corp. v. Nat’l Union Fire Ins. Co.,

2010 U.S. Dist. LEXIS 127506, *2 (D. Or. 2010) (single primary and single excess policy; issue

in dispute involved whether the insured was obligated to pay multiple retentions). 8



8
  Knowledge Learning is further unhelpful in predicting how the Indiana courts would construe
the Chubb language here, because its holding rested on the conclusion that the insurer’s
argument was “the best reading” of the policy. Id. at *7. In contrast, under Indiana law, the
insurer can prevail only if its reading is the only reasonable one. Am. Econ. Ins. Co. v. Liggett,
426 N.E.2d 136, 144 (Ind. Ct. App. 1981); Eli Lilly & Co. v. Home Ins. Co., 482 N.E.2d 467,
471 (Ind. 1985). The Seventh Circuit recently vacated an opinion that made this mistake while


                                              - 15 -
  Case 19-50012        Doc 231      Filed 09/12/19       EOD 09/12/19 15:44:45      Pg 16 of 21



        Chubb’s citation to GuideOne is particularly meritless. That court was only asked to

decide “whether multiple acts of molestation of different persons by one minister during a policy

year constitute a single occurrence.” GuideOne, 2008 U.S. Dist. LEXIS 119141, at *3. The court

emphasized that this was “[t]he only issue before the Court,” and that the parties had already

agreed that there was one limit for “each” of the three policies sold by the insurer. Id. at *2–3.

The court held that there was only one occurrence per policy period, regardless of the number of

survivors. Id. at *8–9. But this is no more than what USAG already has conceded here—that

Chubb’s policies consolidate “all” abuse that is first committed during each of the three policy

periods, and thus, that there are only three primary limits available.

        Chubb cannot twist GuideOne, the other cases, or its own policy language into an

unambiguous mandate that one policy’s limit governs three separate policies sold to USAG. It

claims that the “period of time” clause in these other cases is “redundant” because “[a]ny abuse

involving multiple acts, multiple victims and multiple locations is bound to involve an extensive

period of time.” [Dkt. 217, at 12.] That claim fails to prove Chubb’s point. Abuse may recur

multiple times during a policy period, or it may span multiple policy periods. Chubb’s own cited

cases establish that fact. E.g., Watson, 937 S.W.2d at 148–49. But without an express statement

that a deemer applies “regardless of the period of time” that the abuse occurs, the policyholder

reasonably interprets the deemer as being restricted by the inception and termination dates of the

policy itself.

        Chubb’s policy indisputably is missing language that expressly expands its scope beyond

the temporal limits of the policy period. [Dkt. 175-1, §3.a, at 2 (“regardless of the number of acts

applying Indiana law. Emmis Communs. Corp. v. Ill. Nat’l Ins. Co., 929 F.3d 441 (7th Cir.
2019), vacated, op’n withdrawn, 2019 U.S. App. LEXIS 24930 (7th Cir., Aug. 21, 2019).




                                                - 16 -
  Case 19-50012        Doc 231     Filed 09/12/19       EOD 09/12/19 15:44:45     Pg 17 of 21



or omissions, number of persons injured, number of insureds responsible or number of locations

involved.”).] As reflected by Smart School, San Antonio YMCA, and Merryland Childcare, had it

wanted to extend the deemer clause beyond the temporal limits of the policy period, it could

have done so in express terms. Chubb chose not to, and that fact is fatal to Chubb’s coverage

position. Flexdar, 964 N.E.2d at 851 (recognizing that under “basic contract principles, our

decisions have consistently held that the insurer can (and should) specify what falls within [an]

exclusion.” Where an “insurer’s failure to be more specific renders its policy ambiguous,

[Indiana courts] construe the policy in favor of coverage.” Id.

       Chubb accuses USAG of trying to read a temporal element into the deemer clause. [Dkt.

217, at 12.] But that is exactly what Chubb, not USAG, is doing—Chubb wants to insert the

phrase “regardless of the period of time” or “regardless of the policy period” into the deemer

clause because Chubb elected not to include that language when it wrote the policy. [Dkt. 175-1,

§3.a.] Under Indiana law, an insurer is not permitted to limit coverage by inferring the existence

of terms that it chose not to write in the policy. Flexdar, 964 N.E.2d at 848; Summit, 715 N.E.2d

at 938–40. USAG is simply reading the deemer clause as Chubb wrote it—and as written, it

contains no temporal language. [Dkt. 175-1, §3.a, at 2.] At the very least, it is reasonable for

USAG to read this clause and conclude that the limit is bounded by the policy period itself,

rather than extending across multiple, unreferenced policy periods. That reasonable, coverage-

preserving interpretation governs as a matter of law. Eli Lilly & Co., 482 N.E.2d at 471; Liggett,

426 N.E.2d at 144.




                                               - 17 -
  Case 19-50012        Doc 231      Filed 09/12/19      EOD 09/12/19 15:44:45        Pg 18 of 21



                                          CONCLUSION

       The U.S. Supreme Court often remarks that “Congress . . . does not alter the fundamental

details of a regulatory scheme in vague terms or ancillary provisions—it does not, one might say,

hide elephants in mouseholes.” Whitman v. Am. Trucking Ass’n, 531 U.S. 457, 468 (2001).

Chubb is attempting to stuff a $22 million coverage elephant into a mousehole, and the elephant

clearly does not fit. Indiana does not permit an insurer to do this. Nat’l Mut. Ins. Co. v. Curtis,

867 N.E.2d 631, 635–37 (Ind. Ct. App. 2007). This Court should not allow it either.

       In sum, Chubb’s arguments fail. The Court should GRANT USAG’s motion and DENY

Chubb’s cross-motion. The Court should declare that: (1) all three of Chubb’s excess limits are

available for the Nassar-related claims, as well as for claims related to other perpetrators, and (2)

Chubb must provide one “Each Act” limit for each separate perpetrator in each of its primary

policy periods (up to its aggregate limit).



September 12, 2019                            Respectfully Submitted,

                                              /s/ Christopher E. Kozak
                                              George M. Plews (#6274-49)
                                              Gregory M. Gotwald (#24911-49)
                                              Tonya J. Bond (#24802-49)
                                              Christopher E. Kozak (#35554-49)
                                              PLEWS SHADLEY RACHER & BRAUN LLP
                                              1346 N. Delaware St.
                                              Indianapolis, IN 46202-2415
                                              (317) 637-0700
                                              gplews@psrb.com
                                              ggotwald@psrb.com
                                              tbond@psrb.com
                                              ckozak@psrb.com
                                              -and-




                                               - 18 -
Case 19-50012   Doc 231   Filed 09/12/19     EOD 09/12/19 15:44:45     Pg 19 of 21



                                   JENNER & BLOCK LLP
                                   Catherine L. Steege (admitted pro hac vice)
                                   Dean N. Panos (admitted pro hac vice)
                                   Melissa M. Root (#24230-49)
                                   353 N. Clark Street
                                   Chicago, Illinois 60654
                                   (312) 923-2952
                                   csteege@jenner.com
                                   dpanos@jenner.com
                                   mroot@jenner.com

                                   Counsel for the Debtor




                                    - 19 -
  Case 19-50012        Doc 231     Filed 09/12/19       EOD 09/12/19 15:44:45        Pg 20 of 21



                                 CERTIFICATE OF SERVICE

        I hereby certify that on September 12, 2019, a copy of the foregoing was filed
electronically. Notice of this filing will be sent to the following parties through the Court’s
Electronic Case Filing System. Parties may access this filing through the Court’s system.

Scott P. Fisher                                    James P. Moloy
Drewry Simmons Vornehm, LLP                        Bose McKinney & Evans LLP
sfisher@DSVlaw.com                                 jmoloy@boselaw.com

George R. Calhoun V                                Kevin P. Kamraczewski
Ifrah PLLC                                         Law Offices of Kevin P. Kamraczewski
george@ifrahlaw.com                                kevin@kevinklaw.com
Counsel for TIG Insurance Company
                                                   Robert B. Millner
                                                   Ronald D. Kent
                                                   Susan M. Walker
                                                   Dentons US LLP
                                                   robert.millner@dentons.com
                                                   ronald.kent@dentons.com
                                                   susan.walker@dentons.com
                                                   Counsel for Virginia Surety Company Inc.,
                                                   f/k/a Combined Specialty Insurance Company
Jeffrey B. Fecht                                   Wendy D. Brewer
Riley Bennett Egloff LLP                           Phillip A. Martin
jfecht@rbelaw.com                                  Fultz Maddox Dickens PLC
                                                   wbrewer@fmdlegal.com
Cassandra L. Jones                                 pmartin@fmdlegal.com
Walker Wilcox Matousek LLP
cjones@wwmlawyers.com                              Abigail E. Rocap
Counsel for RSUI Indemnity Company                 Bates Carey LLP
                                                   arocap@batescarey.com
                                                   Counsel for Endurance American Insurance
                                                   Company
Harley K. Means                                    Bruce L. Kamplain
Stephen J. Peters                                  Cynthia E. Lasher
Kroger Gardis & Regas, LLP                         Norris Choplin Schroeder LLP
hmeans@kgrlaw.com                                  bkamplain@ncs-law.com
speters@kgrlaw.com                                 clasher@ncs-law.com
                                                   Counsel for Western World Insurance
Eric D. Freed                                      Company
Cozen & O’Connor
efreed@cozen.com
Counsel for ACE American Insurance
Company f/k/a CIGNA Insurance Company



                                               - 20 -
  Case 19-50012     Doc 231     Filed 09/12/19     EOD 09/12/19 15:44:45      Pg 21 of 21



Ginny L. Peterson                             Hans H. J. Pijls
Casey R. Stafford                             Dinsmore & Shohl LLP
Kightlinger & Gray, LLP                       Hans.pijls@dinsmore.com
gpeterson@k-glaw.com                          Counsel for National Casualty Company
cstafford@k-glaw.com

Nancy D. Adams
Mathilda S. McGee-Tubb
Laura Bange Stephens
Mintz Levin Cohn Ferris Glovsky & Popeo,
PC
nadams@mintz.com
msmcgee-tubb@mintz.com
lbstephens@mintz.com
Counsel for Liberty Insurance Underwriters,
Inc.
Susan N.K. Gummow                             Karen M. Dixon
Igor Shleypak                                 Michael M. Marick
Foran Glennon Palandech Ponzi & Rudloff PC    Skarzynski Marick & Black LLP
sgummow@fgppr.com                             kdixon@skarzynski.com
ishleypak@fgppr.com                           mmarick@skarzynski.com
Counsel for American International Group,
Inc. & American Home Assurance Company        Joshua D. Weinberg
                                              Katherine M. Hance
                                              Shipman & Goodwin LLP
                                              jweinberg@goodwin.com
                                              khance@goodwin.com
                                              Counsel for Great American Assurance
                                              Company
U.S. Trustee                                  Catherine L. Steege
Office of U.S. Trustee                        Melissa M. Root
ustpregion10.in.ecf@usdoj.gov                 Jenner & Block LLP
                                              csteege@jenner.com
                                              mroot@jenner.com
                                              Counsel for Debtor USA Gymnastics




                                                   /s/ Christopher E. Kozak
                                                   Christopher E. Kozak




                                          - 21 -
